                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 1 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MICHAEL ARISMENDEZ, INDIVIDUALLY
                                       920 Colorado
                                       Austin, Texas 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                  Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 2 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 3 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) WILLIAM BOURLAND, INDIVIDUALLY
                                       7117 FORESTVIEW DR
                                       ARLINGTON, TX 76016




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                  Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 4 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 5 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KATIE BRICE, INDIVIDUALLY
                                       920 Colorado
                                       Austin, Texas 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                  Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 6 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 7 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MARIEL FERNANDEZ, INDIVIDUALLY
                                       10503 METRIC DRIVE
                                       DALLAS, TX 7524




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                  Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 8 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 9 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BRIAN FINDLAY, INDIVIDUALLY
                                       6310 N MACARTHUR BLVD APT: 3039
                                       IRVING, TX 75039




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 10 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 11 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STATE OF GEORGIA
                                       40 CAPITOL SQUARE, SW
                                       ATLANTA, GA 30334




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 12 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 13 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STATE OF LOUISIANA
                                       1885 N. THIRD STREET
                                       BATON ROUGE, LA 70802




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 14 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 15 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) JOYCE MAUK, INDIVIDUALLY
                                       1300 W LANCASTER
                                       FORT WORTH, TX 76102




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 16 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 17 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                       )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 6:22-cv-00626-ADA
                                                                    )
  Joseph R. Biden Jr., President of the United States               )
                                                                    )
                               et al
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Missouri Secretary of States Office
                                       600 W. Main St., Rm. 322
                                       Jefferson City, MO 65101




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 18 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 19 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                       )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 6:22-cv-00626-ADA
                                                                    )
  Joseph R. Biden Jr., President of the United States               )
                                                                    )
                               et al
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) State of North Carolina
                                       9001 Mail Service Center
                                       Raleigh, NC 27699-9001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 20 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 21 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STATE OF OKLAHOMA
                                       313 NE 21ST STREET
                                       OKLAHOMA CITY, OK 73105




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 22 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 23 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CAROL SLOAN, INDIVIDUALLY
                                       1120 MEDICAL PLAZA DRIVE
                                       SUITE 100
                                       THE WOODLANDS, TX 77380




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 24 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 25 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) LAURIE SNYDER, INDIVIDUALLY
                                       PO BOX 92123
                                       SOUTHLAKE, TEXAS 76092




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 26 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 27 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STEPHANIE SOKOLOSKY, INDIVIDUALLY
                                       315 E Jackson Street
                                       Harlingen, TX 78550




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 28 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 29 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TEXAS DEPARTMENT OF LICENSING AND REGULATION
                                       920 Colorado
                                       Austin, Texas 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 30 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 31 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STATE OF TEXAS
                                       300 W. 15TH STREET, 7TH FLOOR
                                       AUSTIN, TX 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 32 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 33 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Western District
                                                  __________  District of
                                                                       of __________
                                                                          Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                       )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 6:22-cv-00626-ADA
                                                                    )
  Joseph R. Biden Jr., President of the United States               )
                                                                    )
                               et al
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)          Joseph R. Biden Jr., President of the United States

                                       Attorney General of the United States
                                       U.S. Department of Justice
                                       Justice Management Division
                                       950 Pennsylvania Avenue, NW
                                       Room 1111
                                       Washington, DC 20530
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 34 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 35 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Western District
                                                  __________  District of
                                                                       of __________
                                                                          Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                       )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 6:22-cv-00626-ADA
                                                                    )
  Joseph R. Biden Jr., President of the United States               )
                                                                    )
                               et al
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)          Joseph R. Biden Jr., President of the United States

                                       Ms. Stephanie Rico
                                       Civil Process Clerk
                                       Office of the United States Attorney for the Western District of Texas
                                       601 N.W. Loop 410
                                       Suite 600
                                       San Antonio, Texas 78216-5597
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 36 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 37 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STATE OF VIRGINIA
                                       202 NORTH NINTH STREET
                                       RICHMOND, VIRGINIA 23219




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 38 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 39 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                    Western District
                                                __________  District of
                                                                     of __________
                                                                        Texas

    Prof. Michael Moates, MA, QBA, LBA, LCMHC                   )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 6:22-cv-00626-ADA
                                                                )
  Joseph R. Biden Jr., President of the United States           )
                                                                )
                               et al
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STATE OF WYOMING
                                       109 STATE CAPITOL
                                       CHEYENNE, WY 82002




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Prof. Michael Moates, MA, QBA, LBA, LCMHC
                                       6004 Oakland Bend Drive #116
                                       Fort Worth, TX. 76112
                                       mike@behaviormed.org
                                       254-966-2837


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
                 Case 6:22-cv-00626-ADA-JCM Document 10 Filed 06/24/22 Page 40 of 40

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:22-cv-00626-ADA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
